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   8                      UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10                               WESTERN DIVISION
  11
  12 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
     and LIVEWIRE SERVICES, INC., a
  13 Nevada corporation,                  ORDER GRANTING PLAINTIFFS’
                                          EX PARTE APPLICATION TO
  14               Plaintiffs,            EXTEND CASE DEADLINES TO
                                          ACCOMMODATE EFFECTS OF
  15       v.                             DISCOVERY ORDERS
  16 PERFECT 10, INC., a California
     corporation; NORMAN ZADA, an
  17 individual; and DOES 1-50, inclusive,
  18                 Defendants.
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   1         Plaintiffs Giganews, Inc. and Livewire Services, Inc. have requested an
   2 extension of case deadlines under Federal Rule of Civil Procedure 16(b)(4). The
   3 matter having been submitted, and after consideration of the application, supporting
   4 declaration, all papers filed in support and in opposition, and all other matters on
   5 file in this action, and good cause appearing, Plaintiffs’ application is GRANTED.
   6         The Scheduling Order, filed as Dkt. No. 31 and amended by Dkt. No. 58, is
   7 hereby amended to reflect the following changes:
   8                    Event                         Current                    New
   9    Non-Expert Discovery Cut-Off (for       September 10, 2018       October 31, 2018
        purposes of enforcing compliance
  10
        with the Court’s orders)
  11    Deadline for Opposition to Motion       September 28, 2018      November 9, 2018
  12    for Summary Judgment
  13    Deadline to Complete Settlement           October 5, 2018      November 16, 2018
        Conference [L.R. 16-15]                                       [ x] Private Mediation
  14
        Expert Disclosures (Initial)            September 27, 2018 November 19, 2018
  15
        Deadline for Reply on Summary             October 5, 2018      November 30, 2018
  16    Judgment
  17    Expert Disclosures (Rebuttal)            October 11, 2018      November 30, 2018
  18    Summary Judgment Hearing                 October 19, 2018     December 14, 2018 at
  19                                                                       10:00 am
  20    Expert Discovery Cut-Off                 October 29, 2018      December 14, 2018
  21    Trial Filings (first round)             November 16, 2018        January 18, 2019

  22    Trial Filings (second round)            December 7, 2018         February 8, 2019

  23    Final Pretrial Conference, Hearing      December 21, 2018 March 1, 2019 11:00
        on Motions in Limine                                             a.m.
  24
        Trial                                    January 15, 2019     March 26, 2019, 8:30
  25                                                                         a.m.
  26
       Dated: September 25, 2018
  27                                             Honorable André Birotte Jr.
  28                                             U.S. District Court Judge

                                                  1              Case No.: 2:17-cv-05075-AB (JPR)
